Case 1:07-cv-11387-DLC-DCF Document 162 Filed 03/11/10 Page 1 of 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

SECURITIES AND EXCHANGE COMMISSION,

Plaintiff,
v. : Case No: 07-CV-11387 (DLC)
BRIAN N. LINES, et al.,

Defendants.

 

NOTICE OF FILING
Plaintiff Securities and Exchange Commission (the “SEC” or “Commission”) hereby
files its redacted exhibits to its Motion for Partial Summary Judgment (Dkt. nos. 139-41) filed
on February 26, 2010, pursuant to the Endorsed Letter (Dkt. no. 144) of March 2, 2010 allowing
for such redaction by Defendants.

Dated: March 11, 2010 Respectfully. submitted,

  
 

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Case 1:07-cv-11387-DLC-DCF Document 162 Filed 03/11/10 Page 2 of 2

CERTIFICATE OF SERVICE

I hereby certify that, on this 11" day of March, 2010, a copy of the attached Notice was

served on the following parties via e-mail:

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